Case 1:18-cv-20209-RNS Document 10 Entered on FLSD Docket 08/01/2018 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT OF
                  THE SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION


                                      :
  ARAMARK HEALTHCARE SUPPORT          :
  SERVICES, LLC,                      :
                                      :
                       Plaintiff,     :
                                      :
              v.                      : CIVIL ACTION NO.: 1:18-cv-20209-RNS
                                      :
  MIAMI INTERNATIONAL MEDICAL CENTER, :
  LLC d/b/a THE MIAMI MEDICAL CENTER, :
                                      :
                       Defendants.    :
                                      :
                                      :

       STATUS REPORT IN RESPONSE TO THE COURT’S ORDER (DOCKET NO. 9)

            Pursuant to this Court’s Order dated July 29, 2018 (Dkt. No. 9), ordering Plaintiff

  Aramark Healthcare Support Services, LLC (“Plaintiff” or “Aramark”) to file reports advising

  the Court of the status of Defendant Miami International Medical Center, LLC’s (“Defendant” or

  “Miami Medical”) ongoing bankruptcy proceedings in the U.S. Bankruptcy Court for the

  Southern District of Florida (the “Bankruptcy Court”), Aramark, by and through its attorneys,

  Duane Morris LLP, hereby states as follows:

            The bankruptcy of Miami Medical is still pending and the automatic stay remains in

  effect. On or about June 25, 2018, the Bankruptcy Court approved the sale of substantially all of

  Miami Medical’s assets to a stalking horse bidder, Variety Children’s Hospital (“VCH”) for $30

  million. The sale consideration represents a credit bid on account of secured debt held by VCH,

  but the sale will yield $1.8 million in cash proceeds payable to general unsecured creditors as a

  result of a settlement with the Official Committee of Unsecured Creditors. See generally In re:

  Miami Int’l Med. Center, LLC, No. 18-12741-LMI (S.D. Fla. Bankr.). The sale has not yet


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Case 1:18-cv-20209-RNS Document 10 Entered on FLSD Docket 08/01/2018 Page 2 of 3




  closed pending regulatory approvals.

            On August 1, 2018, the Bankruptcy Court extended the exclusive period in which the

  debtor may file a chapter 11 plan of reorganization. Id. at Dkt. No. 290. However, no plan has

  been proposed to date.



                                                Respectfully submitted,

                                                DUANE MORRIS, LLP
                                                200 South Biscayne Boulevard, Suite 3400
                                                Miami, Florida 33131
                                                Telephone: 215.979.1977
                                                Facsimile: 215.689.4429

                                                By: /s/ Kassia Fialkoff____________
                                                Kassia Fialkoff
                                                Florida Bar No. 117708
                                                KFialkoff@duanemorris.com

                                                Attorneys for Plaintiff Aramark
                                                Healthcare Support Services, LLC
  August 1, 2018




                                                 2
  DM1\8912805.1
Case 1:18-cv-20209-RNS Document 10 Entered on FLSD Docket 08/01/2018 Page 3 of 3




                                   CERTIFICATE OF SERVICE

            I HEREBY CERTIFY on this 1st day of August, 2018, I electronically filed the foregoing

  documents with the Clerk of Court using CM/ECF. I also certify that the foregoing document

  will be served upon all parties requesting electronic notice and will be served via email to

  counsel listed below.

                                 Miami International Medical Center,
                                  d/b/a The Miami Medical Center,
                                         c/o Peter D. Russin
                                  Meland Russin & Budwick P.A.
                                      3200 SE Financial Center
                                        200 S Biscayne Blvd
                                        Miami, Florida 33131
                                           (305) 358-6363



                                                                       /s/Kassia Fialkoff
                                                                       Kassia Fialkoff




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